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 4
   Attorney for Defendant
 5 JOHN ALLEN LEE
 6
 7                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                 EASTERN DISTRICT OF CALIFORNIA
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 9
10 UNITED STATES OF AMERICA,                   )      CASE NO.: CR S-08-324 GEB
                                               )
11                   Plaintiff,                )      STIPULATION AND [PROPOSED]
                                               )      ORDER TO CONTINUE STATUS
12 v.                                          )      CONFERENCE
                                               )
13 JOHN ALLEN LEE, et al.,                     )
                                               )
14                   Defendant.                )
                                               )
15
            The United States of America, through its counsels of record, Mc Gregor W. Scott, United
16
     States Attorney for the Eastern District of California, and William S. Wong, Assistant United States
17
     Attorney, and defendant John Allen Lee, through his attorney, Ronald Peters, Esq., and defendant
18
     Christine Corsbie, through her attorney, Erin Radekin, Esq., hereby stipulate and agree that the status
19
     conference scheduled for September 12, 2008, should be continued to September 26, 2008, at 9:00 a.m.
20
            Ronald Peters, attorney for John Allen Lee will unavailable due to being out of town beginning
21
     September 11, 2008-September 15, 2008. Defense counsel is requesting a continuance of
22
     this matter. The parties have agreed and respectfully request that the Court set the date of September
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     26, 2008, at 9:00 a.m., for the status conference.
24
            Parties agree that time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and
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     Local Code T-4 - reasonable time to prepare and for continuity of counsel. The parties agree that time
26
     be excluded under this provision for the reasons states above from September 12, 2008, to and including
27
     September 26, 2008.
28


            U.S. vs. LEE                                                   STIPULATION AND ORDER TO
                                                                           STATUS CONFERENCE
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 1 DATE: 08/27/08                                        Respectfully submitted
 2
 3                                            By:        /s/Ron Peters
                                                         RON PETERS
 4                                                       Attorney for Defendant
                                                         JOHN ALLEN LEE
 5
 6
     DATE: 08/27/08                              By:    /s/ William S. Wong
 7                                                      William S. Wong
                                                        Assistant U.S. Attorney
 8
 9
10 DATE: 08/27/08                                By:    /s/ Erin Radekin
                                                        Erin Radekin
11                                                      Attorney for Defendant
                                                         CHRISTINE CORSBIE
12
13
14                                                  ORDER
15
            Good cause have been shown, it hereby ordered, that this matter be set for status conference on
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     September 26, 2008, at 9:00 a.m. and that the time should be exclude under Local Code T-4 from
17
     September 12, 2008, to and including September 26, 2008.
18
19 Dated: August 27, 2008
20
21                                              GARLAND E. BURRELL, JR.
                                                United States District Judge
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           U.S. vs. LEE                                                  STIPULATION AND ORDER TO
                                                                         STATUS CONFERENCE
